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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

ROBERT (BOB) ROSS,                            §
                                              §
    Plaintiff/Counterclaim Defendant,         §
                                              §
v.                                            §       Civil Action No. 4:22-CV-00343-Y
                                              §
ASSOCIATION OF PROFESSIONAL                   §
FLIGHT ATTENDANTS,                            §
MCGAUGHEY, REBER AND                          §
ASSOCIATES, INC., JULIE                       §
HEDRICK, AND ERIK HARRIS,                     §
                                              §
    Defendants/Counterclaim Plaintiffs        §


UNION DEFENDANTS’ RESPONSETO PLAINTIFF'S MOTION FOR EXTENSION TO
RESPOND TO THE UNION DEFENDANTS’MOTION FOR SUMMARY JUDGEMENT

            The Union Defendants1 will not file a response in opposition to Plaintiff Ross’s

motion (doc. 46) for extension to respond to the Union Defendants motion for summary

judgment (doc. 42), and will leave the grant of the extension, and the length thereof, to the

Court's discretion.

Date: October 6, 2022                         Respectfully Submitted,


                                                /s/ Sanford R. Denison
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1
 “Union Defendants” shall refer collectively to Defendant/Counterclaim Plaintiff Association of
Professional Flight Attendants (“APFA”) and to individual APFA officer Defendants Julie
Hedrick and Erik Harris.

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                                           Association of Professional Flight Attendants, and
                                           Defendants Julie Hedrick and Erik Harris

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                               CERTIFICATE OF SERVICE

       I certify that on this 6th day of October 2022 a true and correct copy of the foregoing
document was served on the below listed counsel of record for Plaintiff/Counterclaim Defendant
Ross by a means permitted by Rule 5(b)(2) of the Federal Rules of Civil Procedure (“F.R.C.P.”).

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